
528 F.Supp.2d 1339 (2007)
In re: AVANDIA MARKETING, SALES PRACTICES AND PRODUCTS LIABILITY LITIGATION.
Sharon Ann Dabon
v.
GlaxoSmithKline, Inc., E.D. Louisiana, C.A. No. 2:07-3041
Celenio Cruz-Santana
v.
GlaxoSmithKhne, PLC, et al., D. Puerto Rico, C.A. No. 3:07-1461.
MDL No. 1871.
United States Judicial Panel on Multidistrict Litigation.
October 16, 2007.
*1340 Before D. LOWELL JENSEN, Acting Chairman, JOHN G. HEYBURN II, Chairman[*], ROBERT L. MILLER, JR., DAVID R. HANSON, J. FREDERICK MOTZ, KATHRYN H. VRATIL, ANTHONY J. SCIRICA, Judges of the Panel.

TRANSFER ORDER
D. LOWELL JENSEN, Acting Chairman.
Before the entire Panel:[*] Plaintiff in the action pending in the Eastern District of Louisiana, has moved, pursuant to 28 U.S.C. § 1407, to centralize this litigation in the District of Puerto Rico or, alternatively, in the Eastern District of Louisiana. This litigation currently consists of moving plaintiff's action and one action pending in the District of Puerto Rico.[1] Plaintiff in the latter action supports centralization in the District of Puerto Rico. Plaintiffs in potential tag-along actions pending in the Central District of California, the Southern District of Florida, the District of New Jersey, the Southern District of New York, and the District of Puerto Rico have submitted responses in support of centralization. These plaintiffs suggest a variety of fora for transferee district, including the Southern District of Florida (favored by plaintiffs in the action pending in that district), the District of New Jersey (favored by plaintiff in the action pending in that district, as well as plaintiff in the Central District of California action), the Southern District of New York (favored by plaintiffs in eight actions pending in that district), and the District of Puerto Rico (favored by plaintiffs in the action pending in that district). Responding defendant SmithKline-Beecham Corp. d/b/a GlaxoSmithKhne (GSK) initially opposed the Section 1407 motion, but now supports centralization in the Eastern District of Pennsylvania.
On the basis of the papers filed and hearing session held, we find that these actions involve common questions of fact, and that centralization under Section 1407 in the Eastern District of Pennsylvania will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the litigation. Both actions arise from allegations that certain diabetes drugs manufactured by GSKAvandia *1341 and/or two sister drugs containing Avandia (Avandamet and Avandaryl)cause an increased risk of heart attack and other physical injury, and that GSK failed to provide adequate warnings concerning that risk. Centralization under Section 1407 will eliminate duplicative discovery, avoid inconsistent pretrial rulings, and conserve the resources of the parties, their counsel and the judiciary.
We are also persuaded that the Eastern District of Pennsylvania is an appropriate transferee district for pretrial proceedings in this litigation. GSK's principal place of business is located in that district, and thus many witnesses and documents relevant to the litigation are likely to be found there. In addition, one of the potential tag-along actions was commenced in the Eastern District of Pennsylvania.
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the two actions are transferred to the Eastern District of Pennsylvania and, with the consent of that court, assigned to the Honorable Cynthia M. Rufe for coordinated or consolidated pretrial proceedings.
NOTES
[*]  Judge Heyburn took no part in the disposition of this matter.
[1]  The Panel has been notified of 28 additional related actions pending in the Western District of Arkansas, the Central District of California (two actions), the Southern District of Florida (two actions), the Southern District of Illinois, the Southern District of Indiana, the Eastern District of Louisiana, the District of New Jersey, the Eastern District of New York, the Southern District of New York (ten actions), the Northern District of Ohio, the Eastern District of Oklahoma, the Eastern District of Pennsylvania, the District of Puerto Rico, the Eastern District of Tennessee, the Western District of Tennessee, and the Eastern District of Texas (two actions). These actions and any other related actions will be treated as potential tag-along actions. See Rules 7.4 and 7.5, R.P.T.P.M.L., 199 F.R.D. 425, 435-36 (2001).

